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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                               Case No.: 22-CV-22538-ALTMAN/REID

  Pierce Robertson, et al., on behalf of themselves
  and all others similarly situated,

                 Plaintiffs,                              CLASS ACTION COMPLAINT
  v.
                                                           JURY DEMAND
  Mark Cuban, Dallas Basketball Limited, d/b/a
  Dallas Mavericks, and Stephen Ehrlich,

                 Defendants.
                                                      /

           PLAINTIFFS’ RENEWED REQUEST FOR A STATUS CONFERENCE
         Plaintiffs, in accordance with the Court’s September 13, 2022 Order, [ECF No. 15],
  respectfully request a brief Status Conference at the Court’s earliest convenience, now that the
  relevant issues in the Bankruptcy Action have been fully resolved and to update the Court on the
  status and background of this litigation.
         After months of extensive cooperation and coordination, counsel for the Voyager Debtors
  and bankruptcy counsel working with Undersigned Counsel reached an agreed Stipulation, that
  was filed in the bankruptcy court, whereby Plaintiffs will dismiss with prejudice the claims against
  Defendant Stephen Ehrlich, the former CEO of Voyager (subject to a reservation of rights), and
  will now proceed expeditiously on their claims against Defendant Mark Cuban and his Dallas
  Mavericks (and any other third parties that discovery may reveal should be added as named
  defendants). A copy of the Stipulation is attached as Exhibit A.
         On September 13th, this Court ruled that it “will set a status conference in this case after
  the hearing that's scheduled for October 18, 2022 in the Bankruptcy Action (Case No. 22-10943
  (MEW) (S.D.N.Y 2022)) takes place. Within three days of that hearing, any party may file a
  renewed motion for a hearing.” ECF No. 15. That hearing was subsequently rescheduled to take
  place on October 19, 2022.
         On October 18, 2022, Plaintiffs and the Debtors in the Bankruptcy Action filed a
  Stipulation that fully resolves the Adversary Proceeding filed against Plaintiffs seeking to enjoin
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  this action. Pursuant to that Stipulation, Plaintiffs agreed to dismiss Defendant Stephen Ehrlich
  from this action with prejudice, with a reservation of rights allowing them to reinstate those claims
  if it is determined that the financial disclosures Mr. Ehrlich provided “is materially inaccurate,”
  and that “[i]n such case, any applicable statutes of limitations or repose shall relate back to the
  August 10, 2022 filing date of the initial complaint in the Robertson Action.” See Ex. A.
         In exchange, the Debtors agreed to voluntarily dismiss the Adversary Proceeding, and the
  Debtors and Mr. Ehrlich agree that “the Customers may resume prosecution of the Robertson
  Action against the Cuban Parties immediately.” See Ex. A.
         Given that this case is currently administratively closed, Plaintiffs respectfully renew their
  request and ask the Court to hold a brief Status Conference to update the Court and discuss, among
  other things, the filing of an Amended Complaint, the dismissal of Mr. Ehrlich, and a proposed
  provisional Leadership of this litigation for when it does proceed.
                                           CONCLUSION
         Plaintiffs respectfully request this Honorable Court order a brief status conference before
  the Court at the Court’s earliest convenience.




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                                 S.D. FLA. L.R. 7.1 CERTIFICATION
            Counsel for the Movants has made reasonable efforts to confer with all parties who may
  be affected by the relief sought in the Request, and are not aware of any objection. Plaintiffs look
  forward to coordinating any date and time that is convenient for the Court, and all parties.
  Dated: October 19th, 2022.                               Respectfully submitted,


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   Co-Counsel for Plaintiffs and the Class               Co-Counsel for Plaintiffs and the Class


                                     CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the forgoing was filed on October 19, 2022,
  with the Court via CM/ECF system, which will send notification of such filing to all attorneys of
  record.


                                                         By: /s/ Adam M. Moskowitz
                                                         Adam M. Moskowitz
                                                         Florida Bar No. 984280




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